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 5   Attorney for Creditor Steven B Grogan

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 7

 8                             UNITED STATES BANKRUPTCY COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                 Case No.      18-10505

11    Terry Lee Slater                                       Chapter       11

12               Debtor(s)                                   REQUEST FOR SERVICE OF
      __________________________________/                    NOTICES
13

14             PLEASE TAKE NOTICE that Evan Livingstone, as authorized agent for Steven B

15   Grogan, a creditor in the above-captioned chapter 11 case, requests, pursuant to Rules 2002 and

16   9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1),

17   342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

18   Bankruptcy Code), that all notices given or required to be given and all papers served or required

19   to be served in this case be also given to and served, whether electronically or otherwise, on:

20             Evan Livingstone
               Attorney at Law
21             740 4t St, Ste 215
               Santa Rosa, CA 95404
22

23   Dated: November 24, 2018                             /s/Evan Livingstone
                                                          Evan Livingstone Attorney for
24                                                        Creditor Steven B Grogan

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27

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                 18-10505 - Certificate of Service of Request for Service of Notices
     Case: 18-10505 Doc# 43 Filed: 11/24/18 Entered: 11/24/18 16:03:46                      Page 1 of 1
